               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:09 CR 29-2


UNITED STATES OF AMERICA                      )
                                              )
Vs.                                           )            ORDER
                                              )
GARY ROBERT FRONRATH.                         )
______________________________________        )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to

motions to withdraw (#62)(#63)(#66) filed by Kristina L. Earwood, attorney for the

defendant. At the call of this matter on for hearing, it appeared that Ms. Earwood was

present, the defendant was present and the government was present through Assistant

United States Attorney Corey Ellis.    At the hearing of the motions Ms. Earwood

presented information to show that the defendant has been unable to fulfill an

obligation to Ms. Earwood regarding payment for Ms. Earwood’s services and for that

reason, Ms. Earwood was moving to withdraw, pursuant to Rule 1.16(b)(6) of the

Rules of Professional Conduct. It further appears that Ms. Earwood has discussed the

matter with the defendant and has given the defendant reasonable warning that she

would move to withdraw unless the obligation regarding fees was fulfilled. Upon

inquiry from the court the defendant advised that he did not have any objection to the

various Motions to Withdraw and that he did not have funds sufficient to retain an

attorney. Ms. Ellis, on behalf of the government, advised that the government did not



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have any objection to the Motions to Withdraw and did not wish to be heard in regard

to the matter. Good cause has been shown for the granting of the motions.




                                     ORDER

       IT IS, THEREFORE, ORDERED that the Motions to Withdraw (#62) (#63)

(#66) of Kristina L. Earwood to withdraw as attorney for the defendant, are hereby

ALLOWED.        It is ORDERED that Ms. Earwood shall take steps to the extent

reasonable and practicable to protect the defendant’s interest and shall deliver to

defendant’s new attorney copies of all documents in her possession concerning her

representation of the defendant. It is further ORDERED that after inquiry being

made of the defendant that the defendant’s request for court appointed counsel is

ALLOWED and that the Office of the Federal Defender for the Western District of

North Carolina is ORDERED to immediately appoint counsel to represent the

defendant in this matter.




                                         Signed: December 17, 2009




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